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                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  HUNTINGTON DIVISION

RICHARD EDWARDS, JR.,

                              Plaintiff,

v.                                                  CIVIL ACTION NO. 3:16-1879

McELLIOTTS TRUCKING, LLC;
DANNY McGOWAN, individually and as
an employee of McElliotts Trucking, LLC and/or
as agent of Cardinal Transport;
CARDINAL TRANSPORT, INC.,

                              Defendants.

                                            ORDER

        Pending before the Court is Plaintiff’s Motion to Enforce and Request for Hearing. ECF

No. 282. Plaintiff makes a prima facie showing that Defendants McElliotts Trucking, LLC and

Danny McGowan—together, “Settlement Defendants”—have not timely fulfilled the terms of the

“Settlement Agreement and Release,” nor have Settlement Defendants responded to this motion.

        Though the Court has the inherent power to summarily enforce a private settlement without

a hearing, (Millner v. Norfolk & W. R. Co., 643 F.2d 1005, 1009 (4th Cir. 1981)), the Court

HOLDS IN ABEYANCE Plaintiff’s motion. Furthermore, the Court ORDERS Settlement

Defendants to submit proof of satisfaction of the terms of the settlement agreement, or a

memorandum showing cause why they have failed to do so, no later than July 29, 2019.

        The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented parties.

                                                    ENTER:         July 12, 2019




                                                   ROBERT C. CHAMBERS
                                                   UNITED STATES DISTRICT JUDGE
